Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON-CH.7

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     David
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Morgan
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Van Wie
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4949
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   David Morgan Van Wie                                                                        Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 2086 Potter St.
                                 Eugene, OR 97405
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Lane
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any      in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                        mailing address.

                                 PO Box 5610
                                 Eugene, OR 97405
                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                     Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,             Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any                have lived in this district longer than in any other
                                        other district.                                                 district.

                                        I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    David Morgan Van Wie                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    David Morgan Van Wie                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    David Morgan Van Wie                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment                Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.               any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                   I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have               this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                    of completion.
     file.
                                         Within 14 days after you file this bankruptcy                   Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and           MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                           any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                       from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                    those services during the 7 days after I made my
                                         days after I made my request, and exigent                       request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                   temporary waiver of the requirement.
                                         of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                     attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                 to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why               before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for               circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                 Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                      filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                       If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must           receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.         file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                   copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you               not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                   counseling because of:

                                               Incapacity.                                                    Incapacity.
                                               I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                               making rational decisions about finances.                      decisions about finances.

                                               Disability.                                                    Disability.
                                               My physical disability causes me to be                         My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I                through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                     do so.

                                               Active duty.                                                   Active duty.
                                               I am currently on active military duty in a                    I am currently on active military duty in a military
                                               military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a                If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a               about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.             of credit counseling with the court.




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Debtor 1    David Morgan Van Wie                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts
                                           Taxes

17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ David Morgan Van Wie
                                 David Morgan Van Wie                                              Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     08/02/2018                                        Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   David Morgan Van Wie                                                                           Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Todd Trierweiler OSB#                                          Date         08/03/2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Todd Trierweiler OSB# 85348
                                Printed name

                                Todd Trierweiler & Associates
                                Firm name

                                4721 NE 102nd Ave.
                                Portland, OR 97220
                                Number, Street, City, State & ZIP Code

                                                                                                                   BLCattorneys@bankruptcylawctr.co
                                Contact phone     503-253-7777                               Email address         m
                                85348 OR
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                                Case 18-62424-tmr7               Doc 1        Filed 08/03/18
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of Oregon-Ch.7
 In re       David Morgan Van Wie                                                                             Case No.
                                                                               Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     8,500.00
             Prior to the filing of this statement I have received                                        $                     5,500.00
             Balance Due                                                                                  $                     3,000.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Any matter not covered by the debtor(s) retainer agreement.

                  (If applicable) If the Chapter 7 trustee does not pursue the listed potential preference action, counsel will pursue
                  recovery of claim as exempted. Compensation for this service would be on a contingency basis per separate fee
                  agreement.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     8/3/18                                                                   /s/ Todd Trierweiler OSB#
     Date                                                                     Todd Trierweiler OSB# 85348
                                                                              Signature of Attorney
                                                                              Todd Trierweiler & Associates
                                                                              4721 NE 102nd Ave.
                                                                              Portland, OR 97220
                                                                              503-253-7777 Fax: 503-253-2959
                                                                              BLCattorneys@bankruptcylawctr.com
                                                                              Name of law firm




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                                                   Case 18-62424-tmr7           Doc 1        Filed 08/03/18
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                     DISTRICT OF OREGON-CH.7
 In re                                                                  )   Case No.                                 (If Known)
 David Morgan Van Wie                                                   )
                                                                        )   CHAPTER 7 INDIVIDUAL DEBTOR'S*
                                                                        )   STATEMENT OF INTENTION(S)
 Debtor(s)                                                              )   PER 11 U.S.C. §521(a)

IMPORTANT NOTICES TO DEBTOR(S):
1.Complete, sign and file this form even if you have no debts secured by property of the estate or personal property subject to unexpired leases. If
creditors are listed, make sure the certificate of service is completed.
2. Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors
under 11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.

PART A - Debts secured by property of the estate. (Part A must be fully completed for each debt which is secured by property of the estate. Attach
additional pages is necessary.)


   IF NONE - Check this box.
 Property No. 1
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Alexander Goldberg                                                                    2086 Potter St. Eugene, OR 97405 Lane County
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) avoid lien using 11 U.S.C. § 522(f)

 Property is (check one):            CLAIMED AS EXEMPT                  NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 2
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Bank of America                                                                       2086 Potter St. Eugene, OR 97405 Lane County
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                  NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 3
 Creditor's Name:                                                                      Describe Property Securing Debt:
 CSO Financial, Inc.                                                                   2086 Potter St. Eugene, OR 97405 Lane County
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) avoid lien using 11 U.S.C. § 522(f)

 Property is (check one):            CLAIMED AS EXEMPT                  NOT CLAIMED AS EXEMPT

    IF NONE - Check this box.




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                                                   Case 18-62424-tmr7             Doc 1     Filed 08/03/18
 Property No. 4
 Creditor's Name:                                                                           Describe Property Securing Debt:
 First Tennessee Bank                                                                       2086 Potter St. Eugene, OR 97405 Lane County
 Property will be (check one):            SURRENDERED                    RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                      NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 5
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Lane County Assessment & Taxation                                                          2086 Potter St. Eugene, OR 97405 Lane County
 Property will be (check one):            SURRENDERED                    RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                      NOT CLAIMED AS EXEMPT

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional
pages if necessary.)

   IF NONE - Check this box.
 Property No. 1
 Lessor's Name:                                                      Describe Leased Property:                      Lease will be assumed pursuant to 11 USC
                                                                                                                    §365(p)(2)
                                                                                                                                   YES        NO
            Continuation sheets attached (if any).

 I DECLARE UNDER PENALTY OF PERJURY THAT THE ABOVE                                        I/WE, THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH THIS
 INDICATES INTENTION AS TO ANY PROPERTY OF MY ESTATE                                      DOCUMENT AND LOCAL FORM #715 WERE SERVED ON ANY
 SECURING A DEBT AND/OR PERSONAL PROPERTY SUBJECT TO                                      CREDITOR NAMED ABOVE.
 AN UNEXPIRED LEASE.
 DATE: 8/2/18                                                                             DATE: 8/3/18

 /s/ David Morgan Van Wie                                                                 /s/ Todd Trierweiler OSB#                                  85348 OR
 DEBTOR'S SIGNATURE                                                                       DEBTOR OR ATTORNEY'S SIGNATURE                  OSB# (if attorney)


 JOINT DEBTOR'S SIGNATURE (If applicable)                                                 JOINT DEBTOR'S SIGNATURE (If applicable and no attorney)
                                                                                          Todd Trierweiler OSB# 85348         503-253-7777
                                                                                          PRINT OR TYPE SIGNER'S NAME & PHONE NO.
                                                                                          4721 NE 102nd Ave.
                                                                                          Portland, OR 97220
                                                                                          SIGNER'S ADDRESS (if attorney)


    NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
Creditors, see Local Form #715 [attached if this document was served on paper] if you wish information on how to obtain non-judicial
relief from the automatic stay of 11 U.S.C. §362(a) as to your collateral.
                                                        QUESTIONS????
Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have
questions about the debtor's intent as to your collateral.




521.05 (12/1/16) Page 2
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                                                   Case 18-62424-tmr7                  Doc 1     Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             765,576.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                9,663.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             775,239.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $         10,724,737.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              28,677.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             409,641.00


                                                                                                                                     Your total liabilities $           11,163,055.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,750.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,694.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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                                                       Case 18-62424-tmr7                            Doc 1            Filed 08/03/18
 Debtor 1      David Morgan Van Wie                                                       Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $             7,312.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            21,365.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             28,677.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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                                                   Case 18-62424-tmr7             Doc 1         Filed 08/03/18
 Fill in this information to identify your case and this filing:

 Debtor 1                    David Morgan Van Wie
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF OREGON-CH.7

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2086 Potter St.                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Eugene                            OR        97405-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $765,576.00                $765,576.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Homestead
        Lane                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                FMV per Zillow


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $765,576.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                                             Case 18-62424-tmr7                        Doc 1           Filed 08/03/18
 Debtor 1       David Morgan Van Wie                                                                                Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods and furnishings                                                                                          $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Household electronics and computer                                                                                       $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books,pictures, movies, music, video games: $750
                                    Art: $500                                                                                                                $1,250.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Camping gear: $100
                                    Fishing gear and equipment: $50
                                    Exercise machines (2): $50
                                    2 electric guitars: $250
                                    1 electric bass: $150
                                    1 acoustic bass: $100
                                    2 keyboards: $750
                                    10 old musical effect boxes: $150
                                    8 - 10 individual drums: $300
                                    3 digereedo: $250
                                    4 microphones: $80
                                    2 old mixing boards: $200
                                    power and bass amplifiers: $150
                                    4 speakers: $50
                                    1 bicycle: $30                                                                                                           $2,360.00

Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
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                                                   Case 18-62424-tmr7                       Doc 1          Filed 08/03/18
 Debtor 1         David Morgan Van Wie                                                                                             Case number (if known)


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            1 hunting rifle (Weatherbee 300): $300
                                            1 Mossburg shotgun: $150
                                            1 air rifles: $50                                                                                                              $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing                                                                                                                       $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Jewelry and Fitbit                                                                                                             $250.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            3 dogs. 2 cats (pets): no cash value                                                                                               $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $8,110.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                      Cash                               $1,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:



Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 3
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                                                               Case 18-62424-tmr7                                    Doc 1    Filed 08/03/18
 Debtor 1       David Morgan Van Wie                                                               Case number (if known)

                                                                         Wells Fargo Bank checking #8170: $20
                                      17.1.    Checking/Savings          Wells Fargo Bank checking #8162: $67                         $87.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                              Merrill Lynch brokerage account #8509                                                     $3.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                  % of ownership:

                                         DVW Capital, Inc.
                                         Financial consulting company

                                         Assets:
                                         2013 Lexus GS350 (fmv per Kelley Blue Book):
                                         $19,280
                                         Private Company Stock (Resilient Networks
                                         Systems, Inc.): $0
                                         Computer equipment: $250
                                         Registration of company name (DVW Capital): $0

                                         Liabilities:
                                         Taxes, fees, professional services: $15,232
                                         Credit card: $3,835


                                         TOTAL ASSETS: $19,530
                                         TOTAL LIABILITIES: $19,067                                     100%          %             $463.00


                                         Aventurine Capital Management, LLC
                                         Financial investment consulting

                                         Assets:
                                         Wells Fargo Bank savings #8044: $5,425
                                         PayPal account: $131
                                         Domain name: $3,000
                                         Contract payable over 4 months: $30,000
                                         Potential additional contract award: $50,000
                                                                                                    DVW = 68%
                                         Liabilities:                                                 / Sydney
                                         Business loans $393,355                                      Plavins =
                                         Professional services $222,968                                 29% /
                                         Utilities $67                                                Thomas
                                                                                                     Nivison =
                                                                                                    1.5% / G & E
                                         TOTAL ASSETS: $88,556                                         Davis =
                                         TOTAL LIABILITIES: $616,390                                     1.5%    %                      $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

Official Form 106A/B                                                 Schedule A/B: Property                                             page 4
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                                                   Case 18-62424-tmr7               Doc 1     Filed 08/03/18
 Debtor 1         David Morgan Van Wie                                                                        Case number (if known)


21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Potential 2015 - 2018 tax refunds
                                                             subject to offset                                     Federal and State                   Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                       Wages (estimate): none
                                                       Debtor takes draws instead of a pay check                                                             $0.00

Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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                                                     Case 18-62424-tmr7                  Doc 1        Filed 08/03/18
 Debtor 1        David Morgan Van Wie                                                                                            Case number (if known)


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $1,553.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 6
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                                                       Case 18-62424-tmr7                             Doc 1            Filed 08/03/18
 Debtor 1         David Morgan Van Wie                                                                                                  Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $765,576.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $8,110.00
 58. Part 4: Total financial assets, line 36                                                                    $1,553.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $9,663.00             Copy personal property total         $9,663.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $775,239.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
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                                                          Case 18-62424-tmr7                               Doc 1            Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                David Morgan Van Wie
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2086 Potter St. Eugene, OR 97405                               $765,576.00                               $11,388.00      11 U.S.C. § 522(d)(1)
      Lane County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household goods and furnishings                                  $2,500.00                                 $2,500.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household electronics and computer                               $1,000.00                                 $1,000.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Books,pictures, movies, music, video                             $1,250.00                                 $1,250.00     11 U.S.C. § 522(d)(3)
      games: $750
      Art: $500                                                                            100% of fair market value, up to
      Line from Schedule A/B: 8.1                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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                                                   Case 18-62424-tmr7                   Doc 1        Filed 08/03/18
 Debtor 1    David Morgan Van Wie                                                                        Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Camping gear: $100                                               $2,360.00                                  $2,360.00        11 U.S.C. § 522(d)(5)
     Fishing gear and equipment: $50
     Exercise machines (2): $50                                                            100% of fair market value, up to
     2 electric guitars: $250                                                              any applicable statutory limit
     1 electric bass: $150
     1 acoustic bass: $100
     2 keyboards: $750
     10 old musical effect boxes: $150
     8 - 10 individual drums: $300
     3 digereedo: $250
     Line from Schedule A/B: 9.1

     1 hunting rifle (Weatherbee 300):                                   $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
     $300
     1 Mossburg shotgun: $150                                                              100% of fair market value, up to
     1 air rifles: $50                                                                     any applicable statutory limit
     Line from Schedule A/B: 10.1

     Clothing                                                            $250.00                                   $250.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry and Fitbit                                                  $250.00                                 $1,600.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 dogs. 2 cats (pets): no cash value                                   $0.00                                  $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                             $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking/Savings: Wells Fargo Bank                                   $87.00                                    $87.00        11 U.S.C. § 522(d)(5)
     checking #8170: $20
     Wells Fargo Bank checking #8162:                                                      100% of fair market value, up to
     $67                                                                                   any applicable statutory limit
     Line from Schedule A/B: 17.1

     Merrill Lynch brokerage account                                        $3.00                                     $3.00       11 U.S.C. § 522(d)(5)
     #8509
     Line from Schedule A/B: 18.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                                   Case 18-62424-tmr7                   Doc 1        Filed 08/03/18
 Debtor 1    David Morgan Van Wie                                                                        Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     DVW Capital, Inc.                                                   $463.00                                   $463.00        11 U.S.C. § 522(d)(5)
     Financial consulting company
                                                                                           100% of fair market value, up to
     Assets:                                                                               any applicable statutory limit
     2013 Lexus GS350 (fmv per Kelley
     Blue Book): $19,280
     Private Company Stock (Resilient
     Networks Systems, Inc.): $0
     Computer equipment: $250
     Registration of company name (DVW
     Capital): $0

     Li
     Line from Schedule A/B: 19.1

     Federal and State: Potential 2015 -                              Unknown                                    $1,000.00        11 U.S.C. § 522(d)(5)
     2018 tax refunds
     subject to offset                                                                     100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                                   Case 18-62424-tmr7                   Doc 1        Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                   David Morgan Van Wie
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     Alexander Goldberg                       Describe the property that secures the claim:                $369,355.00               $765,576.00         $369,355.00
         Creditor's Name                          2086 Potter St. Eugene, OR 97405
         c/o Kingsley & Kingsley,                 Lane County
         APC
         No.                                      As of the date you file, the claim is: Check all that
                                                  apply.
         56-2017-00496057-CU-OE                       Contingent
         -VTA
         16133 Ventura Blvd.,
         Suite 1200
         Encino, CA 91436
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          5/2/2018                  Last 4 digits of account number        EVTA

 2.2     Bank of America                          Describe the property that secures the claim:                $607,115.00               $765,576.00                     $0.00
         Creditor's Name                          2086 Potter St. Eugene, OR 97405
                                                  Lane County
                                                  As of the date you file, the claim is: Check all that
         POB 31785                                apply.
         Tampa, FL 33631-3785                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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                                                   Case 18-62424-tmr7                       Doc 1           Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2017                        Last 4 digits of account number         5640

 2.3     CSO Financial, Inc.                        Describe the property that secures the claim:                     $2,130.00       $765,576.00       $2,130.00
         Creditor's Name                            2086 Potter St. Eugene, OR 97405
                                                    Lane County
                                                    As of the date you file, the claim is: Check all that
         POB 1666                                   apply.
         Roseburg, OR 97470                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/27/2017                  Last 4 digits of account number         2160

 2.4     First Tennessee Bank                       Describe the property that secures the claim:                  $294,767.00        $765,576.00    $136,306.00
         Creditor's Name                            2086 Potter St. Eugene, OR 97405
                                                    Lane County
                                                    As of the date you file, the claim is: Check all that
         POB 13807                                  apply.
         Sacramento, CA 95853                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 2003 or
 Date debt was incurred          2004                        Last 4 digits of account number         7130


                                                                                                                                                    $9,438,758.0
 2.5     IRS                                                                                                     $9,438,758.00              $0.00
                                                    Describe the property that secures the claim:                                                              0
         Creditor's Name                            Real and personal property

         POB 7346
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 4
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                                                    Case 18-62424-tmr7                         Doc 1          Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                                Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   2009 income taxes
       community debt

 Date debt was incurred          9/2/2013                    Last 4 digits of account number


         Lane County
 2.6                                                                                                                 $12,612.00                $765,576.00          $12,612.00
         Assessment & Taxation                      Describe the property that secures the claim:
         Creditor's Name                            2086 Potter St. Eugene, OR 97405
                                                    Lane County
                                                    As of the date you file, the claim is: Check all that
         125 East 8th Ave.                          apply.
         Eugene, OR 97401                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/2017                     Last 4 digits of account number         5478


   Add the dollar value of your entries in Column A on this page. Write that number here:                                $10,724,737.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $10,724,737.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Bruce Berg Photography
          448 D Street                                                                                Last 4 digits of account number
          Springfield, OR 97477

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Clear Recon Corp.
          TS No. 061729-OR                                                                            Last 4 digits of account number   29OR
          111 SW Columbia St., #950
          Portland, OR 97201

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Kingsley & Kingsley, APC
          16133 Ventura Blvd., Suite 1200                                                             Last 4 digits of account number   EVTA
          Encino, CA 91436

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Lane County Circuit Court
          No. 17SC42160                                                                               Last 4 digits of account number   2160
          125 East 8th Ave.
          Eugene, OR 97401




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 4
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                                                    Case 18-62424-tmr7                         Doc 1          Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                             Case number (if know)
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.4
        Nelson & Kennard
        No. 17-25713-0                                                              Last 4 digits of account number   7130
        POB 13807
        Sacramento, CA 95853

        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.1
        Ventura County Superior Court
        No. 56-2017-00496057-CU-OE-VTA                                              Last 4 digits of account number   EVTA
        POB 6489
        Ventura, CA 93006




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 4
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                                                   Case 18-62424-tmr7            Doc 1      Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                     David Morgan Van Wie
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          California EDD                                         Last 4 digits of account number       7202                 $147.00              $147.00                 $0.00
              Priority Creditor's Name
              POB 826215                                             When was the debt incurred?
              MIC 3A
              Sacramento, CA 94230
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        business debt: employment taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 18
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                                                   Case 18-62424-tmr7                          Doc 1         Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                               Case number (if know)

 2.2      City of Tacoma                                             Last 4 digits of account number     5345                  $125.00      $0.00            $125.00
          Priority Creditor's Name
          733 Market St.                                             When was the debt incurred?
          Room 21
          Tacoma, WA 98402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           business debt: tax and license

 2.3      IRS                                                        Last 4 digits of account number                         $7,073.00   $7,073.00              $0.00
          Priority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           2015 - 2017 personal income tax

 2.4      ODR-Bankruptcy                                             Last 4 digits of account number                           $200.00    $200.00               $0.00
          Priority Creditor's Name
          c/o Bankruptcy Unit                                        When was the debt incurred?
          955 Center Street, NE Room 353
          Salem, OR 97301-2555
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           2015 and 2016 withholding reconciliation




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 18
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                                                   Case 18-62424-tmr7                          Doc 1         Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                               Case number (if know)

 2.5      State of California                                        Last 4 digits of account number     0594                $7,766.00   $7,766.00              $0.00
          Priority Creditor's Name
          Franchise Tax Board                                        When was the debt incurred?
          PIT Bankruptcy MS: A-340
          PO Box 2952
          Sacramento, CA 95812-2952
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           business taxes

 2.6      State of Oregon                                            Last 4 digits of account number                         $7,312.00   $7,312.00              $0.00
          Priority Creditor's Name
          Child Support Enforcement                                  When was the debt incurred?
          c/o Dept. of Justice
          PO Box 14670
          Salem, OR 97309
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           domestic support obligation

 2.7      State of Oregon                                            Last 4 digits of account number     1448                $5,988.00   $5,988.00              $0.00
          Priority Creditor's Name
          Bureau of Labor & Industries                               When was the debt incurred?
          800 NE Oregon St., #1045
          Portland, OR 97232
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           wage claim filed by William N. Wilkins




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 18
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                                                   Case 18-62424-tmr7                          Doc 1         Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                               Case number (if know)

 2.8        State of Oregon                                          Last 4 digits of account number     1262                      $66.00                $66.00                  $0.00
            Priority Creditor's Name
            Oregon Employment Tax Dept.                              When was the debt incurred?
            POB 4395, Unit 2
            Portland, OR 97208
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            employment taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Bank of America                                            Last 4 digits of account number        52M8                                                           $225.00
            Nonpriority Creditor's Name
            POB 15855                                                  When was the debt incurred?
            Wilmington, DE 19850
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   safe deposit box fees




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 4 of 18
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                                                    Case 18-62424-tmr7                         Doc 1         Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.2      Bank of America                                            Last 4 digits of account number       9598                                           $42,495.00
          Nonpriority Creditor's Name
          POB 851001                                                 When was the debt incurred?
          Dallas, TX 75285-1001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.3      Capital One                                                Last 4 digits of account number       0570                                             $3,855.00
          Nonpriority Creditor's Name
          POB 60599                                                  When was the debt incurred?
          City of Industry, CA 91716
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card


 4.4      Citibank / Choice                                          Last 4 digits of account number       4207                                                $907.00
          Nonpriority Creditor's Name
          POB 78045                                                  When was the debt incurred?
          Phoenix, AZ 85062-8045
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 18
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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.5      Client Services, Inc.                                      Last 4 digits of account number       4949                                             $2,671.00
          Nonpriority Creditor's Name
          3451 Harry S Truman Blvd                                   When was the debt incurred?
          St. Charles, MO 63301
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   assigned debt / Chase Bank


 4.6      Collection Bureau of America                               Last 4 digits of account number                                                           $848.00
          Nonpriority Creditor's Name
          POB 5013                                                   When was the debt incurred?
          Hayward, CA 94540
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   assigned debt / DS Services of America


 4.7      Comcast                                                    Last 4 digits of account number                                                            $67.00
          Nonpriority Creditor's Name
          PO Box 34227                                               When was the debt incurred?
          Seattle, WA 98124
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   utility services




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 4.8      Daniel Meyers                                              Last 4 digits of account number                                                      $24,000.00
          Nonpriority Creditor's Name
          No. 170306                                                 When was the debt incurred?           2016
          2804 NE 167th Cir.
          Ridgefield, WA 98642
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment creditor


 4.9      Diamond Parking Services, LLC                              Last 4 digits of account number       6315                                                 $60.00
          Nonpriority Creditor's Name
          4739 University WAy, #1646                                 When was the debt incurred?
          Seattle, WA 98105-4492
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / parking ticket


 4.1
 0        Drake's Bay                                                Last 4 digits of account number                                                     $109,084.00
          Nonpriority Creditor's Name
          65 Ardmore Rd.                                             When was the debt incurred?
          Larkspur, CA 94939
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.1
 1        DVW Capital, Inc.                                          Last 4 digits of account number       6315                                                 $60.00
          Nonpriority Creditor's Name
          1430 Willamette St., #271                                  When was the debt incurred?
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   parking ticket


 4.1
 2        Farmer's Group, Inc.                                       Last 4 digits of account number       3543                                                $464.00
          Nonpriority Creditor's Name
          4680 Wilshire Blvd.                                        When was the debt incurred?
          Los Angeles, CA 90010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / insurance premium


 4.1
 3        FasTrak                                                    Last 4 digits of account number       2158                                                 $71.00
          Nonpriority Creditor's Name
          Violation Processing Department                            When was the debt incurred?
          POB 26925
          San Francisco, CA 94126
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / toll




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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.1
 4        Gordon Rees et al                                          Last 4 digits of account number       DVWIE                                            $7,230.00
          Nonpriority Creditor's Name
          1111 Broadway, #1700                                       When was the debt incurred?
          Oakland, CA 94607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   professional services


 4.1
 5        Graham Landscape & Design                                  Last 4 digits of account number       7582                                                $260.00
          Nonpriority Creditor's Name
          POB 5125                                                   When was the debt incurred?
          Eugene, OR 97405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.1
 6        Gregory & Elizabeth Davis                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21626 Panorama Dr.                                         When was the debt incurred?
          Golden, CO 80401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   precautionary




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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.1
 7        GuidePoint Law                                             Last 4 digits of account number                                                        $1,654.00
          Nonpriority Creditor's Name
          1809 7th Ave., Suite 300                                   When was the debt incurred?
          Seattle, WA 98101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   professional services


 4.1
 8        Heritage Ventures                                          Last 4 digits of account number                                                      $60,000.00
          Nonpriority Creditor's Name
          8 Heritage Court                                           When was the debt incurred?
          Atherton, CA 94027
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.1      Hunter Warfield / Park Place
 9        Apartments                                                 Last 4 digits of account number                                                        $3,124.00
          Nonpriority Creditor's Name
          4620 Woodland Corporate                                    When was the debt incurred?
          Tampa, FL 33614
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   rental fees / back rent




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 4.2      Hutchinson, Cox, Coons, Orr &
 0        Sherlock                                                   Last 4 digits of account number       2402                                           $37,283.00
          Nonpriority Creditor's Name
          No. 17 CV 52402                                            When was the debt incurred?
          POB 10886
          Eugene, OR 97440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   complaint filed for breach of contract


 4.2
 1        James Walsh                                                Last 4 digits of account number                                                        $3,455.00
          Nonpriority Creditor's Name
          19427 Commanche Cir.                                       When was the debt incurred?
          Bend, OR 97702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   gardening services


 4.2
 2        Lane County Circuit Court                                  Last 4 digits of account number       7901                                                 $32.00
          Nonpriority Creditor's Name
          No. 000493679-01                                           When was the debt incurred?
          125 East 8th Ave.
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   court fines / fees




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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.2
 3        Lane County Circuit Court                                  Last 4 digits of account number       2701                                                 $32.00
          Nonpriority Creditor's Name
          No. 000493679-01                                           When was the debt incurred?
          125 East 8th Ave.
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   court fines / fees


 4.2
 4        Lane County Circuit Court                                  Last 4 digits of account number       8601                                                 $32.00
          Nonpriority Creditor's Name
          No. 000497586-01                                           When was the debt incurred?
          125 East 8th Ave.
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   court fines / fees


 4.2
 5        Laura Berry                                                Last 4 digits of account number       3851                                           $41,488.00
          Nonpriority Creditor's Name
          5205 Cold Springs Way                                      When was the debt incurred?           2/17/2016
          Eugene, OR 97405
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   ex-wife / money judgment




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 4.2
 6        Municipal Services Bureau                                  Last 4 digits of account number       0344                                             $1,026.00
          Nonpriority Creditor's Name
          POB 16755                                                  When was the debt incurred?           3/14/2017
          Austin, TX 78731
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   utility services


 4.2
 7        National Registered Agents, Inc.                           Last 4 digits of account number       6591                                                $251.00
          Nonpriority Creditor's Name
          POB 4349                                                   When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / statutory representation


 4.2
 8        Nationwide Credit, Inc.                                    Last 4 digits of account number       3463                                           $13,351.00
          Nonpriority Creditor's Name
          POB 14581                                                  When was the debt incurred?
          Des Moines, IA 50306-3581
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   assigned debt / Chase Bank




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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.2
 9        Oregon Medical Group                                       Last 4 digits of account number       0179                                             $1,295.00
          Nonpriority Creditor's Name
          1580 Valley River Dr.                                      When was the debt incurred?
          Suite 150
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.3
 0        Professional Credit Services                               Last 4 digits of account number                                                           $766.00
          Nonpriority Creditor's Name
          POB 7548                                                   When was the debt incurred?
          Eugene, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   assigned debt / Oregon Medical Group


 4.3
 1        Renvent, LLC                                               Last 4 digits of account number                                                      $45,000.00
          Nonpriority Creditor's Name
          6315 Velasso Ave.                                          When was the debt incurred?
          Dallas, TX 75214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.3
 2        Tacoma, City of                                            Last 4 digits of account number                                                        $1,026.00
          Nonpriority Creditor's Name
          2005 South 64th, #208                                      When was the debt incurred?
          Tacoma, WA 98409
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   utility services


 4.3
 3        Tom Nivison                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4914 N. 10th St.                                           When was the debt incurred?
          Tacoma, WA 98406
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   precautionary


 4.3
 4        Verizon Wireless                                           Last 4 digits of account number                                                           $729.00
          Nonpriority Creditor's Name
          POB 650051                                                 When was the debt incurred?
          Dallas, TX 75265
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   cell phone service




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 18
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                                                   Case 18-62424-tmr7                       Doc 1         Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 4.3
 5         Vicky Curry, PhD                                          Last 4 digits of account number                                                                $6,800.00
           Nonpriority Creditor's Name
           1234 Pearl St., Suite 1                                   When was the debt incurred?
           Eugene, OR 97401
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARSI                                                          Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 555 St. Charles Dr., Suite 100                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Thousand Oaks, CA 91360
                                                               Last 4 digits of account number                  4890

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 California Franchise Tax                                      Line 2.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 942857                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Sacramento, CA 94257
                                                               Last 4 digits of account number                  0594

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank                                                    Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 94014                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Palatine, IL 60094
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank                                                    Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 15298                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number                  6483

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank                                                      Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 6077                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117-6077
                                                               Last 4 digits of account number                  4207

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services, Inc.                                         Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Blvd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 St. Charles, MO 63301
                                                               Last 4 digits of account number                  4949

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Control, LLC                                           Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5757 Phantom Dr., Suite 330                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Hazelwood, MO 63042
                                                               Last 4 digits of account number                  9720


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 16 of 18
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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Diamond Parking Services, LLC                                 Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1297 High St.                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Eugene, OR 97401
                                                               Last 4 digits of account number                  6315

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DS Services of America                                        Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2300 Windy Ridge Pkwy. SE                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 500N
 Atlanta, GA 30339-8577
                                                               Last 4 digits of account number                  0749

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EOS CCA                                                       Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 981002                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Boston, MA 02298-1002
                                                               Last 4 digits of account number                  4171

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kell, Alterman & Runstein, LLP                                Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 520 SW Yamhill St., Suite 600                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Portland, OR 97204
                                                               Last 4 digits of account number                  0306

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lane County Circuit Court                                     Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 No. 15-07-13851                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 125 East 8th Ave.
 Eugene, OR 97401
                                                               Last 4 digits of account number                  3851

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lane County Circuit Court                                     Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 No. 17 CV 52402                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 125 East 8th Ave.
 Eugene, OR 97401
                                                               Last 4 digits of account number                  2402

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laura Berry                                                   Line 2.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 5205 Cold Springs Way                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Eugene, OR 97405
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Linebarger, Goggan, Blair &                                   Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Sampson, LLP                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Attorneys at Law
 1515 Cleveland Pl., #300
 Denver, CO 80202
                                                               Last 4 digits of account number                  7901

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Linebarger, Goggan, Blair &                                   Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Sampson, LLP                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Attorneys at Law
 1515 Cleveland Pl., #300
 Denver, CO 80202
                                                               Last 4 digits of account number                  2701

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Linebarger, Goggan, Blair &                                   Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Sampson, LLP                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Attorneys at Law
 1515 Cleveland Pl., #300
 Denver, CO 80202
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 17 of 18
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 Debtor 1 David Morgan Van Wie                                                                            Case number (if know)

                                                                                                                  8601

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Municipal Services Bureau                                     Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 16755                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Austin, TX 78731
                                                               Last 4 digits of account number                    0344

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Oregon Medical Group                                          Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1580 Valley River Dr.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 210
 Eugene, OR 97401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Professional Credit Services                                  Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 7548                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Eugene, OR 97401
                                                               Last 4 digits of account number                    7582

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 William N. Wilkins                                            Line 2.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 709 Vest Dr.                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Warrensburg, MO 64093
                                                               Last 4 digits of account number                    1448

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Windham Professionals                                         Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 382 Main St.                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salem, NH 03079-2412
                                                               Last 4 digits of account number                    2733

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                     7,312.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    21,365.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    28,677.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  409,641.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  409,641.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 18
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                                                   Case 18-62424-tmr7                       Doc 1          Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                  David Morgan Van Wie
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       AT&T Mobility                                                              Debtor has a contract for cell phone service with his
               POB 6416                                                                   carrier. Payments are current and debtor does not intend
               Carol Stream, IL 60197-6416                                                to terminate the agreement.




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                     Case 18-62424-tmr7              Doc 1        Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                     David Morgan Van Wie
                              First Name                          Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Aventurine Capital Management, LLC                                                       Schedule D, line   2.1
                2086 Potter St.                                                                          Schedule E/F, line
                Eugene, OR 97405
                                                                                                         Schedule G
                                                                                                       Alexander Goldberg



    3.2         Aventurine Capital Management, LLC                                                       Schedule D, line
                2086 Potter St.                                                                          Schedule E/F, line         4.33
                Eugene, OR 97405
                                                                                                         Schedule G
                                                                                                       Tom Nivison




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 7
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                                                        Case 18-62424-tmr7             Doc 1       Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.14
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Gordon Rees et al



    3.4      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.10
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Drake's Bay



    3.5      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.18
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Heritage Ventures



    3.6      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.31
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Renvent, LLC



    3.7      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.17
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         GuidePoint Law



    3.8      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.8
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Daniel Meyers



    3.9      Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.7
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Comcast



    3.10     Aventurine Capital Management, LLC                                            Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line  4.16
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Gregory & Elizabeth Davis




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 7
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                                                   Case 18-62424-tmr7    Doc 1     Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    2.5
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         State of California



    3.12     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    2.1
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         California EDD



    3.13     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line  4.27
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         National Registered Agents, Inc.



    3.14     DVW Capital, Inc.                                                              Schedule D, line
             2086 Potter St.                                                                Schedule E/F, line   2.2
             Eugene, OR 97405
                                                                                            Schedule G
                                                                                         City of Tacoma



    3.15     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line 4.15
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Graham Landscape & Design



    3.16     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.12
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Farmer's Group, Inc.



    3.17     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.3
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Capital One



    3.18     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    2.7
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         State of Oregon




Official Form 106H                                                   Schedule H: Your Codebtors                                 Page 3 of 7
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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line  4.22
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Lane County Circuit Court



    3.20     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line  4.23
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Lane County Circuit Court



    3.21     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line  4.24
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Lane County Circuit Court



    3.22     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    2.8
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         State of Oregon



    3.23     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line    4.13
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         FasTrak



    3.24     DVW Capital, Inc.                                                             Schedule D, line
             2086 Potter St.                                                               Schedule E/F, line 4.9
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Diamond Parking Services, LLC



    3.25     Gregory & Elizabeth Davis                                                     Schedule D, line
                                                                                           Schedule E/F, line    4.7
                                                                                           Schedule G
                                                                                         Comcast



    3.26     Gregory & Elizabeth Davis                                                     Schedule D, line
                                                                                           Schedule E/F, line    2.5
                                                                                           Schedule G
                                                                                         State of California




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 4 of 7
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 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.27     Sydney Marie Claire Plavins                                                   Schedule D, line   2.3
             PO Box 5610                                                                   Schedule E/F, line
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         CSO Financial, Inc.



    3.28     Sydney Marie Claire Plavins                                                   Schedule D, line   2.1
             PO Box 5610                                                                   Schedule E/F, line
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Alexander Goldberg



    3.29     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.10
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Drake's Bay



    3.30     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.14
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Gordon Rees et al



    3.31     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.18
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Heritage Ventures



    3.32     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.31
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Renvent, LLC



    3.33     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.17
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         GuidePoint Law



    3.34     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.8
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Daniel Meyers




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 5 of 7
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                                                   Case 18-62424-tmr7    Doc 1     Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.35     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    4.7
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         Comcast



    3.36     Sydney Marie Claire Plavins                                                   Schedule D, line
             PO Box 5610                                                                   Schedule E/F, line    2.5
             Eugene, OR 97405
                                                                                           Schedule G
                                                                                         State of California



    3.37     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.10
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Drake's Bay



    3.38     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.14
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Gordon Rees et al



    3.39     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.18
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Heritage Ventures



    3.40     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.31
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Renvent, LLC



    3.41     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.17
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         GuidePoint Law



    3.42     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.8
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Daniel Meyers




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 6 of 7
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                                                   Case 18-62424-tmr7    Doc 1     Filed 08/03/18
 Debtor 1 David Morgan Van Wie                                                      Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.43     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    4.7
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         Comcast



    3.44     Tom Nivison                                                                   Schedule D, line
             4914 N. 10th St.                                                              Schedule E/F, line    2.5
             Tacoma, WA 98406
                                                                                           Schedule G
                                                                                         State of California




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 7 of 7
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                                                   Case 18-62424-tmr7    Doc 1     Filed 08/03/18
Fill in this information to identify your case:

Debtor 1                      David Morgan Van Wie

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON-CH.7

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            self-employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       DVW Capital, Inc.

       Occupation may include student        Employer's address
                                                                   POB 5610
       or homemaker, if it applies.
                                                                   Eugene, OR 97405

                                             How long employed there?         17 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1

                                             Case 18-62424-tmr7               Doc 1       Filed 08/03/18
Debtor 1    David Morgan Van Wie                                                                   Case number (if known)



                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
      Copy line 4 here                                                                      4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.   Insurance                                                                       5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.   Union dues                                                                      5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                            8a.        $      6,750.00         $               N/A
      8b. Interest and dividends                                                            8b.        $          0.00         $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                           8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                         8d.        $              0.00     $               N/A
      8e. Social Security                                                                   8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                       8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                      8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                    8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $          6,750.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               6,750.00 + $             N/A = $          6,750.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.   $         6,750.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Income based on anticipated draw from business contracts.




Official Form 106I                                                     Schedule I: Your Income                                                        page 2

                                         Case 18-62424-tmr7                 Doc 1          Filed 08/03/18
Fill in this information to identify your case:

Debtor 1                 David Morgan Van Wie                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON-CH.7                                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,478.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           999.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           268.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


                                            Case 18-62424-tmr7                     Doc 1        Filed 08/03/18
Debtor 1     David Morgan Van Wie                                                                      Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               200.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cell phone                                                                         6d.   $                               228.00
             Garbage                                                                                               $                                45.00
             Internet and cable bundle                                                                             $                               216.00
7.    Food and housekeeping supplies                                                           7.                  $                               400.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               100.00
10.   Personal care products and services                                                    10.                   $                                75.00
11.   Medical and dental expenses                                                            11.                   $                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   65.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 795.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Personal miscellaneous                                              21. +$                                                100.00
      Pet expenses                                                                                +$                                               125.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     6,694.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     6,694.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,750.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,694.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  56.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor intends to apply for a loan modification after the bankruptcy.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                            Case 18-62424-tmr7                     Doc 1         Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                    David Morgan Van Wie
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ David Morgan Van Wie                                                  X
              David Morgan Van Wie                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date       August 2, 2018                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                   Case 18-62424-tmr7               Doc 1       Filed 08/03/18
 Fill in this information to identify your case:

 Debtor 1                  David Morgan Van Wie
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                        $20,000.00           Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                                                   Case 18-62424-tmr7                    Doc 1         Filed 08/03/18
 Debtor 1      David Morgan Van Wie                                                                        Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                             Wages, commissions,                          $8,270.00          Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                        $19,150.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Sold instruments to                                           $300.00
 the date you filed for bankruptcy:   music store (June)

                                                   Pawned shotgun                                   $100.00
                                                   (May)

 For last calendar year:                           Cash gifts from                              $44,000.00
 (January 1 to December 31, 2017 )                 friends

 For the calendar year before that:                Cash gifts from                              $10,000.00
 (January 1 to December 31, 2016 )                 friends


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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                                                   Case 18-62424-tmr7                    Doc 1         Filed 08/03/18
 Debtor 1      David Morgan Van Wie                                                                        Case number (if known)




       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Laura Berry                                              8/2017 - 8/20118                $9,095.00            $7,312.00      Court ordered child support
       5205 Cold Springs Way                                                                                                        payments paid to ex-wife.
       Eugene, OR 97405


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       CSO Financial, Inc.                                      Breach of contract          Lane County Circuit Court                  Pending
       v                                                                                    125 East 8th Ave.                          On appeal
       Sydney Marie Clair Plavins                                                           Eugene, OR 97401
                                                                                                                                       Concluded
       David Morgan Van Wie
       17SC42160

       Alexander Goldberg                                       Breach of contract          Ventura County Superior                    Pending
       v                                                                                    Court                                      On appeal
       Aventurine Capital Management,                                                       800 S. Victoria Ave.
                                                                                                                                       Concluded
       LLC                                                                                  Ventura, CA 93006
       David Van Wie
       56-2017-00496057-CU-OE-VTA

       Hutchinson, Cox, Coons, Orr, &                           Breach of contract          Lane County Circuit Court                  Pending
       Sherlock PC                                                                          125 East 8th Ave.                          On appeal
       v                                                                                    Eugene, OR 97401
                                                                                                                                       Concluded
       David Van Wie
       17 CV 52402
                                                                                                                                    summons filed 12/1/2017




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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                                                   Case 18-62424-tmr7                    Doc 1         Filed 08/03/18
 Debtor 1      David Morgan Van Wie                                                                        Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Bank of America, NA                                      Foreclosure                 Lane County Circuit Court                   Pending
       v                                                                                    125 East 8th Ave.                           On appeal
       David Van Wie                                                                        Eugene, OR 97401
                                                                                                                                        Concluded
       TS No. 061729-OR
                                                                                                                                     Sale scheduled for 8/8/2018


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




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 Debtor 1      David Morgan Van Wie                                                                        Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Todd Trierweiler & Associates                                 Attorney fees: $5,500                                    1/9/2018:                 $5,835.00
       4721 NE 102nd Ave                                             Court filing fee: $335                                   $5,000
       Portland, OR 97220                                                                                                     8/2/2018: $835


       Summit Financial Education, Inc.                              Credit counseling course                                 7/31/2018                     $15.00
       4800 E. Flower St.
       Tucson, AZ 85712


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Social Communications Co. (Sococo,                            Debtor, DVW Capital, Inc.                  Transfer stipulated from        8/12/2016
       Inc.)                                                         transferred shares of his                  a court action captioned
                                                                     stock in Sococo, Inc. (10                  Van Wie v Brown (Court
                                                                     million shares of common                   of the Chancery of the
                                                                     stock at $.01 per share);                  State of Delaware) Case
                                                                     4,904,787 shares of Series A               No. 11083-VCL dated
                                                                     Preferred Stock of Sococo;                 6/2/2015.
                                                                     3,231,745 shears of Series
                                                                     B-1 Preferred Stock of
                                                                     Sococo; 1,575,371 shares of
                                                                     Preferred B-3 Preferred
                                                                     Stock of Sococo; 5,500,000
                                                                     Class A Common Warrants
                                                                     of Sococo; and 57,787 Series
                                                                     A Preferred Warrants of
                                                                     Sococo.




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 Debtor 1      David Morgan Van Wie                                                                        Case number (if known)



       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       Guitar Center                                                 2 synthesizers                             $300                         6/2018
       1015 Green Acres Rd.                                          electric drum
       Rainier, OR 97048

       None

       Northwest Pawn                                                Debtor pawned an air rifle                 $100                         5/2018
       2699 Roosevelt Blvd.                                          and did not redeem it back
       Eugene, OR 97402                                              from pawnshop

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)

       Bank of America                                               David Morgan Van Wie                  Box is empty                           No
       921 E. Arques Ave.                                            2086 Potter St.                                                              Yes
       Sunnyvale, CA 94085                                           Eugene, OR 97405


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Winter Moving and Storage                                     David Morgan Van Wie                  Furniture and clothing                 No
       San Jose, CA                                                  2086 Potter St.                                                              Yes
                                                                     Eugene, OR 97405



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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        DVW Capital, Inc.                                       Financial consulting                             EIN:         26-122970
        2086 Portter St.
        Eugene, OR 97405                                        NA                                               From-To      11/25/2009 - present

        Aventurine Capital Management,                          Financial investment advising                    EIN:         XX-XXXXXXX
        LLC
        2086 Potter St.                                         NA                                               From-To      2/18/2014 - present
        Eugene, OR 97405

        David Morgan Van Wie                                    Consulting                                       EIN:         4949
        2086 Potter St.
        Eugene, OR 97405                                        NA                                               From-To      2015 - 2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David Morgan Van Wie
 David Morgan Van Wie                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      August 2, 2018                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:          Liquidation
 This notice is for you if:
                                                                                                  $245       filing fee
        You are an individual filing for bankruptcy,
        and                                                                                         $75      administrative fee

        Your debts are primarily consumer debts.                                          +         $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335       total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                             most taxes;
 chapter.
                                                                                               most student loans;

                                                                                               domestic support and property settlement
                                                                                               obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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                                                               United States Bankruptcy Court
                                                                     District of Oregon-Ch.7
 In re      David Morgan Van Wie                                                                      Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: August 2, 2018                                                /s/ David Morgan Van Wie
                                                                     David Morgan Van Wie
                                                                     Signature of Debtor




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